                                                      U.S. Department of Justice
[Type text]
                                                      United States Attorney
                                                      Southern District of New York
                                                      86 Chambers Street
                                                      New York, New York 10007


                                                       July 15, 2019
By ECF

Honorable Valerie E. Caproni
United States District Judge
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007
       Re:     Natural Resources Defense Council, Inc., et al. v. U.S. Department of the Interior,
               et al., 18 Civ. 4596 (VEC)
               National Audubon Society, et al. v. U.S. Department of the Interior, et al.,
               18 Civ. 4601 (VEC)
               State of New York, et al. v. U.S. Department of the Interior, et al.,
               18 Civ. 8084 (VEC)
Dear Judge Caproni:
        This Office represents defendants U.S. Department of the Interior, U.S. Fish and Wildlife
Service, and Daniel Jorjani, in his official capacity (“Defendants”), in the three related actions
referenced above. We write on behalf of all parties in response to the Court’s order of
July 8, 2019, which directed the parties to file a letter or letters setting forth their positions “on
whether these cases ought to be consolidated under Fed. R. Civ. P. 42(a)(2).” See Dkt. No. 51
(NRDC Action); Dkt. No. 44 (Audubon Action); Dkt. No. 64 (States’ Action).

        The parties in all three actions have conferred, and all parties consent to the consolidation
of the three cases, with two caveats. First, the Audubon Plaintiffs consent to consolidation with
the understanding that it would not prejudice their ability to litigate the NEPA and notice and
comment claims asserted in their complaint but not in the NRDC Action or the States’ Action.
Second, plaintiffs in each of the three cases request that they be permitted to continue to file
separate briefs if there is further motion practice in the consolidated proceeding. Defendants do
not object to the plaintiffs’ requests.

                                                       Respectfully submitted,

                                                       GEOFFREY S. BERMAN
                                                       United States Attorney for the
                                                       Southern District of New York

                                                   By: /s/ Andrew E. Krause
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